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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO
                                SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                       Plaintiff,             Case No. 1:22-cv-329-BLW

 v.                                           UNITED STATES’ SUPPLEMENTAL
                                              BRIEF IN OPPOSITION TO THE
 THE STATE OF IDAHO,                          MOTIONS FOR RECONSIDERATION
                                              [Dkts. 97, 101]
                       Defendant.
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                                         INTRODUCTION

        Idaho Code § 18-622 criminalizes all abortions and provides an affirmative defense—which

the defendant must prove by a preponderance of the evidence at trial—only where an abortion is

“necessary to prevent the death of the pregnant woman.” Before the law, which the Idaho Supreme

Court refers to as the “Total Abortion Ban,” went into effect, it was the subject of multiple legal

challenges in both state and federal court. In this court, the United States sued to enjoin the Total

Abortion Ban to the extent it conflicted with the federal Emergency Medical Treatment and Labor

Act (“EMTALA”) which requires hospitals that accept Medicare funds to offer stabilizing treatment—

including, in some cases, treatment that would be considered an abortion—to patients who present at

emergency departments with emergency medical conditions. Because the Total Abortion Ban

criminalizes medical care that federal law requires hospitals to offer, this Court enjoined the Total

Abortion Ban where it conflicts with EMTALA. See Opinion and Order, ECF No. 95.

        While this litigation was ongoing, a state court challenge to the Total Abortion Ban proceeded

separately. That lawsuit challenged the constitutionality of the Total Abortion Ban under the Idaho

Constitution. Planned Parenthood Great Nw., Haw., Alaska, Ind., Ky. v. State (“Planned Parenthood”), Idaho

Supreme Court Docket No. 49817-2022 (Idaho June 27, 2022) (Petition for Writ of Prohibition). On

January 5, 2023, while motions for reconsideration of this Court’s preliminary injunction were

pending, see ECF Nos. 100, 101, the Idaho Supreme Court issued its decision in Planned Parenthood,

holding that the Idaho Constitution does not protect a right to abortion and thus upholding the

constitutionality of the Total Abortion Ban. See Planned Parenthood Great Nw. v. State, Nos. 49615, 49817,

49899, 2023 WL 110626 (Idaho Jan. 5, 2023), Slip Op. available at ECF No. 119-2. The Idaho Supreme

Court also construed the scope of Idaho’s Total Abortion Ban. Both the State of Idaho and the Idaho

Legislature now argue that the Idaho Supreme Court’s opinion has eliminated the continued need for

the preliminary injunction entered in this case. See ECF Nos. 126, 127. But neither the State nor the



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Legislature can dispute that the Idaho Supreme Court’s opinion left undisturbed the central rationale

for this Court’s holding: Idaho law criminalizes stabilizing medical care that federal law requires

hospitals to offer. Thus, the preliminary injunction remains necessary, and this Court should deny the

pending motions for reconsideration.

                                            DISCUSSION

I.      The Idaho Supreme Court’s Decision Confirms the Correctness of the Preliminary
        Injunction Previously Entered By This Court.

        This Court’s preliminary-injunction opinion concluded that the Total Abortion Ban conflicts

with EMTALA under principles of both impossibility and obstacle preemption. See ECF No. 95 at 19-

34. First, this Court determined that, by virtue of the Total Abortion Ban’s affirmative defense

structure, “it is impossible to comply with both laws” because “federal law requires the provision of

care and state law criminalizes that very care.” Id. at 19. Second, this Court found that “the plain

language of the statutes demonstrates that EMTALA requires abortions that the affirmative defense

would not cover.” Id. at 20. And third, this Court concluded that “Idaho’s criminal abortion law will

undoubtedly deter physicians from providing abortions in some emergency situations,” which “would

obviously frustrate Congress’s intent to ensure adequate emergency care for all patients who turn up

in Medicare-funded hospitals.” Id. at 26.

        The Idaho Supreme Court’s decision confirms that all three of these conclusions were correct.

Specifically, the Idaho Supreme Court’s decision confirms that the Total Abortion Ban criminalizes

all abortions; that the affirmative defense covers a narrower set of circumstances than those in which

EMTALA requires a hospital to offer stabilizing treatment; and that a provider’s invocation of the

affirmative defense may be still be challenged at trial, after the provider has been charged, arrested,

and potentially detained, and thus will continue to deter the provision of medically necessary abortions.

The aspects of the Idaho Supreme Court’s decision on which the State and Legislature focus—i.e., the

portions clarifying that the affirmative defense is subjective rather than objective, and that the Total


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Abortion Ban does not apply to ectopic or other nonviable pregnancies—do not fundamentally alter

this Court’s preemption analysis. The Idaho Supreme Court’s decision therefore reinforces the

correctness of this Court’s preliminary injunction, and the motions for reconsideration should be

denied.

          A.     The Idaho Total Abortion Ban Criminalizes Even Life-Saving Medical Care,
                 Exposing Providers to Prosecution.

          The Idaho Supreme Court confirmed that the Total Abortion Ban criminalizes all abortions—

even those necessary to save the life of the pregnant patient. Slip Op. at 10.1 The Ban provides no

exemptions from criminal prosecution, only an affirmative defense to avoid conviction at trial. As this

Court recognized, the affirmative defense structure itself is an obstacle to the accomplishment and

execution of the full purposes and objectives of Congress. ECF No. 95 at 20 (observing that, “even

though accused healthcare workers might avoid a conviction, the statute still makes it impossible to

provide an abortion without also committing a crime.”); see also U.S. Mem. in Supp. of Mot. for

Preliminary Injunction, ECF No. 17-1 at 15. The Idaho Supreme Court not only endorsed this Court’s

view of how the affirmative defense structure differs from an exception to criminal liability, but it also

emphasized the criminal consequences for those physicians who perform medically necessary

abortions that fall within the scope of the affirmative defense.

          In construing the Total Abortion Ban, the Idaho Supreme Court explained that “[u]nlike

Idaho’s historical abortion laws, which provided an exception to ‘save’ or ‘preserve’ the life of the

woman, the Total Abortion Ban makes all ‘abortions’ a crime.” Slip Op. at 10. In particular, “in place

of exceptions” the Total Abortion Ban contains only “affirmative defenses to prosecution.” Id.; see also

id. at 10-11 (contrasting the Total Abortion Ban’s affirmative defense with a different abortion

restriction in Idaho law, § 18-8704, which “exempts from prosecution” certain cases). Moreover, the


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          Because both the State’s and Legislature’s motion cite to the Idaho Supreme Court slip
opinion, this brief’s citations are to the slip opinion as well.

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Idaho Supreme Court confirmed the serious criminal consequences associated with this affirmative

defense structure—namely, that any physician who provides a life-saving abortion still faces potential

criminal charges, arrest, and detention unless and until they can prove the affirmative defense at trial:

        [A] physician who performed an ‘abortion’ . . . could be charged, arrested, and confined
        until trial even if the physician initially claims they did it to preserve the life of the
        mother, or based on reported rape or incest. Only later, at trial, would the physician
        be able to raise the affirmative defenses available under the Total Abortion Ban . . . to
        argue it was a justifiable abortion that warrants acquittal and release.”

Id. at 78; see also id. (noting that “the Idaho Constitution does not require that the Total Abortion Ban

employ the wisest or fairest method of achieving its purpose”).

        Thus, the Idaho Supreme Court confirmed, as a matter of state law, the premise underlying

one of this Court’s preemption holdings: “An affirmative defense is an excuse, not an exception. The

difference is not academic. The affirmative defense . . . can only be raised after the physician has

already faced indictment, arrest, pretrial detention, and trial for every abortion they perform.” ECF

No. 95 at 20; see also ECF No. 17-1 at 15. And the burden of proof lies with the provider to prove their

actions meet the requirements of the affirmative defense. Under this framework, the Ban’s affirmative

defense structure plainly conflicts with EMTALA, as this Court previously held: “[W]hen pregnant

women come to a Medicare-funded hospital with an emergency medical condition, EMTALA

obligates the treating physician to provide stabilizing treatment, including abortion care. But regardless

of the pregnant patient’s condition, Idaho state law makes that treatment a crime.” ECF 95 at 19.

Because “federal law requires the provision of care and state law criminalizes that very care, it is

impossible to comply with both laws” and the state law is preempted. Id.; see also id. at 20 (“[E]ven

though accused healthcare workers might avoid a conviction, the statute still makes it impossible to

provide an abortion without also committing a crime.”). This affirmative defense structure—now

confirmed by the Idaho Supreme Court—is by itself sufficient to conclude that this Court’s




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preliminary injunction was correct and is still necessary. 2

        Moreover, the Idaho Supreme Court also confirmed that the Total Abortion Ban threatens

the medical licenses of any health care professionals who perform or assist in performing abortions,

and it forces those professionals likewise to rely on the affirmative defense. See Slip Op. at 10 (the

Total Abortion ban “includes a provision directing the appropriate professional licensing board to

implement certain penalties against ‘any health care professional’ who violates it”). Because these

professionals—such as nurses, pharmacists, physicians’ assistants, and anesthesiologists—are forced

to raise an affirmative defense based on someone else’s medical judgment, the obvious effect will be

to deter these professionals from providing abortions, as this Court previously recognized. See ECF

No. 95 at 27 (“[T]he process of enduring criminal prosecution and licensing authority sanctions has a

deterrent effect, regardless of the outcome.”); see also ECF No. 17-1 at 16-17. This deterrent effect—

and the obstacle it serves to Congress’s goal in passing EMTALA to mandate certain emergency

care—is an independent reason why the Total Abortion Ban is preempted. See ECF No. 95 at 24-34

(discussing obstacle preemption). The Idaho Supreme Court’s opinion only confirms the correctness

of this Court’s obstacle preemption analysis.

        The Idaho Supreme Court thus confirmed that the Total Abortion Ban operates only as an

affirmative defense, as this Court previously held, and that any health care provider who performs an

abortion may be subject to criminal prosecution and detention until trial. The preliminary injunction


        2
           Dr. Kylie Cooper, one of the doctor-declarants supporting the United States’ motion for
preliminary relief, see ECF Nos. 17-7, 86-5, recently explained in an op-ed that the affirmative defense
structure and the resulting fear of becoming a felon for providing medically necessary abortions led
her to leave practice in Idaho. See Kylie Cooper, I came to provide care for complicated pregnancies; I’m leaving
because of Idaho’s abortion bans, IDAHO CAPITAL SUN (Feb. 10, 2023), available at
https://idahocapitalsun.com/2023/02/10/i-came-to-provide-care-for-complicated-pregnancies-im-
leaving-because-of-idahos-abortion-bans/ (“My life as a physician has been turned upside down. How
do I keep my patients safe? How do I stay safe? The total abortion ban does not have exceptions, only
affirmative defenses. An affirmative defense means that the burden of proof lies with the physician to
prove their innocence. . . . I need to be able to protect my patients’ lives, their health and future
fertility without fear of becoming a felon. This fear is why I’m leaving Idaho.”).


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therefore remains necessary to protect the lives and health of Idaho women and to protect the health

care professionals who treat them.

       B.      The Affirmative Defense is Narrower in Scope Than EMTALA-Required Care.

       Even apart from the inherent flaw in the affirmative defense structure, the Total Abortion

Ban’s affirmative defense also applies to a narrower scope of conduct than EMTALA covers. The

Idaho Supreme Court confirmed as much by contrasting the affirmative defense with another Idaho

law that it construed as “substantially similar” to EMTALA. Slip Op. at 95. Thus, the Idaho Supreme

Court opinion highlights that the affirmative defense applies only when the abortion was “necessary

to prevent the death of the pregnant woman,” Slip Op. at 89 (emphasis added), but that this affirmative

defense does not protect physicians who act—as EMTALA also requires—when a patient’s “health”

is in “serious jeopardy” or when the patient risks “serious impairment to bodily functions” or “serious

dysfunction of any bodily organ or part.” See 42 U.S.C. § 1395dd(e)(1)(A).

       In particular, the Idaho Supreme Court’s analysis of the “medical emergency” exception in

Idaho Code § 18-8804, referred to as the “6-Week Ban,” reinforces that the affirmative defense in the

Total Abortion Ban is narrower than EMTALA. Slip Op. at 94-95.3 The 6-Week Ban allows abortions

“in the case of a medical emergency,” § 18-8804(1), which that law defines as:

       “Medical emergency” means a condition that, in reasonable medical judgment, so
       complicates the medical condition of a pregnant woman as to necessitate the
       immediate abortion of her pregnancy to avert her death or for which a delay will create
       serious risk of substantial and irreversible impairment of a major bodily function.

Idaho Code § 18-8801(5). The Idaho Supreme Court construed this language as being “substantially

similar” to the language in EMTALA. Slip Op. at 95. Importantly, however, the Idaho Supreme Court

expressly noted the Total Abortion Ban “does not include the broader ‘medical emergency’ exception



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          The 6-Week Ban is superseded by the Total Abortion Ban, but the 6-Week Ban remains in
effect to the extent the Total Abortion Ban is enjoined, i.e., to the extent the latter conflicts with
EMTALA. See Slip Op. at 19.

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for abortions” contained in the 6-Week Ban. Id. at 77 (emphasis added). As a matter of state law, then,

the Idaho Supreme Court’s opinion confirms that the Total Abortion Ban’s affirmative defense is

narrower than EMTALA—because the affirmative defense is narrower than the 6-Week Ban’s

exception, which the Idaho Supreme Court construed as “substantially similar” to EMTALA. Id. at

95.

        The plain text of the affirmative defense reinforces this conclusion. The affirmative defense is

limited to situations where “the abortion was necessary to prevent the death of the pregnant woman.”

Idaho Code § 18-622(3)(a)(ii). But EMTALA requires providing stabilizing care not just where the

patient is at risk of death, but also where a patient faces serious health risks that may stop short of

death, including permanent and irreversible health risks and impairment of bodily functions. 42 U.S.C.

§ 1395dd(e)(1)(A); see also ECF No. 95 at 20 (“the plain language of the statutes demonstrates that

EMTALA requires abortions that the affirmative defense would not cover”). Nothing in the Idaho

Supreme Court’s decision purported to alter the scope of this affirmative defense or extend it to any

of the myriad situations where an abortion is necessary to prevent serious health risks or serious

impairment to bodily functions but where the physician does not believe that the abortion is necessary

to prevent death. See Slip Op. at 90 (acknowledging that the affirmative defense requires a belief,

“based on the individual physician’s good faith medical judgment, that the abortion was necessary to

prevent the death of the woman”); see also U.S. Reply in Supp. of Preliminary Injunction, ECF No. 86

at 13-16 (discussing in detail cases where an abortion is necessary to prevent risks to a patient’s health,

organs, and bodily functions that, while serious, may not lead to death); ECF No. 17-1 at 9 (discussing

example of pre-eclampsia, which “can result in a coma, pneumonia, kidney failure, stroke, or cardiac

arrest,” but which may not be fatal).

        To be sure, the Idaho Supreme Court clarified that the affirmative defense does not require a

“certain percent chance” of death, or “a particular level of immediacy[] before the abortion can be



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‘necessary’ to save the woman’s life.” Slip Op. at 89-90. But the affirmative defense still requires a

“good faith medical judgment[] that the abortion was necessary to prevent the death of the woman.”

Id. at 90 (emphasis added). Thus, this Court’s prior analysis remains correct: “EMTALA directs

physicians to provide that care if they reasonably expect the patient’s condition will result in serious

impairment to bodily functions, serious dysfunction of any bodily organ or part, or serious jeopardy

to the patient’s health. In contrast, the criminal abortion statute admits to no such exception.” ECF

No. 95 at 20 (citation omitted).

        The subjective nature of the affirmative defense likewise does not change this result. The State

contends that, because the Idaho Supreme Court held that the affirmative defense focuses on the

physician’s subjective medical judgment, see Slip Op. at 89, that alleviates any obstacle or impossibility

preemption. ECF No. 127 at 3-6. But again, the affirmative defense’s subjective (rather than objective)

standard does not alter the scope of that defense, which remains available only where a physician

believes the abortion was necessary to prevent death—and is not available where the abortion was

necessary to prevent other serious health conditions covered by EMTALA. See Slip Op. at 90; ECF

No. 95 at 20-21. Moreover, the Idaho Supreme Court expressly noted that a physician’s assertion of

their subjective belief is not guaranteed to prevail at trial, because the prosecutor can always present

evidence to disprove the physician’s medical judgment: “Of course, a prosecutor may attempt to prove

that the physician’s subjective judgment . . . was not made in ‘good faith’ by pointing to other medical

experts on whether the abortion was, in their expert opinion, medically necessary.” Id. at 91. The

affirmative defense still functions as a powerful deterrent, therefore, to any provider who wishes to

avoid a five-year prison sentence, and the possibility of their subjective judgment being challenged in

court only confirms this dilemma. See ECF No. 95 at 21 (“[A]n abortion is only justified under the

statute if the treating physician can persuade the jury that she made a good faith determination that

the patient would have died if the abortion had not been performed.”); see also id. at 24-34 (discussing



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how the law’s criminal penalties will deter hospitals from offering necessary care). This deterrent effect

may be especially strong for non-physician healthcare professionals, who must expose themselves to

licensure actions based on the subjective judgment of another individual.

        Thus, the Idaho Supreme Court’s construction of the affirmative defense does not eliminate

the Total Abortion Ban’s conflict with EMTALA. This Court’s prior reasoning that EMTALA

“demands abortion care to prevent injuries that are more wide-ranging than death” continues to

support the necessity of the preliminary injunction. ECF No. 95 at 21.

        C.      Although the Idaho Supreme Court Narrowed the Scope of the Total Abortion
                Ban, it did not Eliminate the Conflict between the Ban and EMTALA.

        The Idaho Supreme Court applied a limiting judicial construction to the Total Abortion Ban

to conclude that the ban does not apply to ectopic pregnancies and other “non-viable pregnancies.”

Slip Op. at 88. 4 Under this limiting construction, some of the examples that the United States relied

upon to demonstrate that life-saving medical care would be prohibited by the Total Abortion Ban no

longer fall within the scope of the Ban. See, e.g., ECF No. 17-1 at 9 (discussing example of ectopic

pregnancy). Both the Legislature and the State argue that this limiting construction eliminates any

conflict between EMTALA and the Total Abortion Ban by pointing to the United States’ examples

involving ectopic pregnancies. See ECF No. 126 at 2, ECF No. 127 at 7-8. But the Idaho Supreme

Court only narrowed the scope of the Total Abortion Ban; it did not eliminate the conflict between it

and EMTALA given the myriad other circumstances in which EMTALA requires that treatment be

offered but the Total Abortion Ban criminalizes such treatment.

        Specifically, the United States’ motion for a preliminary injunction, and the physician



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          The Idaho Supreme Court defined a “non-viable pregnancy” as a pregnancy where the fetus
“is no longer developing.” Slip Op. at 88. It is unclear whether this definition of “non-viable
pregnancy” aligns with the medical consensus definition of what constitute a non-viable pregnancy,
and whether it encompasses situations in which a fetus has a fatal condition yet continues to develop
in utero. This potential vagueness is another reason the preliminary injunction remains necessary.


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declarations that were submitted in support of that motion, demonstrate that there are complications

that arise during pregnancy that pose health risks severe enough to require stabilizing treatment under

EMTALA but are not excluded from the definition of “abortion” as construed by the Idaho Supreme

Court. To take just one example, the condition of pre-eclampsia is neither an ectopic pregnancy nor

a condition when a fetus is “no longer developing.” Slip Op. at 88. In many cases, pre-eclampsia and

eclampsia can be managed with medications that allow the fetus to mature. ECF No. 17-1 at 9. But in

some cases, the risks to the pregnant patient grow so severe that an abortion may be required to

prevent stroke, seizure, and pulmonary edema. See ECF No. 17-8 Seyb Decl. at ¶¶ 9-10; ECF No. 17-

7 Cooper Decl. ¶¶ 6-7; ECF No. 17-6 Corrigan Decl. ¶¶ 27-29. Thus, even if a fetus has the potential

to continue developing until it has “some chance of survival outside of the womb,” Slip Op. at 88, that

development might come at the cost of a pregnant patient’s future fertility, kidney function, brain

function, or life. See ECF No. 17-3 Fleisher Decl. ¶ 15; ECF No. 86-3 Corrigan Supp. Decl. ¶ 8; ECF

No. 86-5 Cooper Supp. Decl. ¶¶ 3-5. Moreover, pregnant patients may suffer from conditions not

directly caused by pregnancy that may require stabilizing care under EMTALA that results in

termination of a still-developing pregnancy. Accordingly, both the plain text of the Total Abortion

Ban and the factual record before this Court confirm that the preliminary injunction is still necessary,

notwithstanding the Idaho Supreme Court’s limiting construction excluding ectopic and other non-

viable pregnancies.

                                           CONCLUSION

        The Idaho Supreme Court opinion in Planned Parenthood confirmed that (1) the Total Abortion

Ban criminalizes all abortions, even medically necessary or life-saving abortions; (2) the affirmative

defense does not apply where a physician believes the abortion was necessary to prevent serious health

risks or impairment of bodily functions, but not the life of the patient; and (3) the affirmative defense

is still subject to challenge at trial so will continue to operate as a deterrent. The Idaho Supreme Court



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may have narrowed the scope of when a pregnancy termination is considered an “abortion” under the

Total Abortion Ban, but it did not eliminate the conflict between Idaho Code § 18-622 and EMTALA.

Thus, as construed by the Idaho Supreme Court, the Total Abortion Ban criminalizes conduct that

EMTALA requires, just as this Court previously concluded. The preliminary injunction remains

necessary to protect the health and lives of Idaho women and to protect the health care providers who

should not be required to risk their freedom and livelihood to treat them. This Court should therefore

deny the motions for reconsideration.



Dated: February 21, 2023                              Respectfully submitted,

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